      Case 4:15-cr-00276-KGB         Document 206       Filed 02/05/16     Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                            LITTLE ROCK DIVISION

UNITED STATES                                                                   PLAINTIFF


V.                                NO. 4:15CR00276-KGB-16

AMANDA KIRKWOOD                                                             DEFENDANTS


                                          ORDER

       On January 29, 2016, defendant Amanda Kirkwood filed a motion for

reconsideration of the conditions of release imposed by this Court in an order dated

November 20, 2015 (docket entries 199 and 82). District Judge Kristine Baker referred

Kirkwood’s motion for reconsideration to this Court (docket entry 201). For the reasons

set forth herein, the motion is denied.

       Kirkwood specifically asks the Court to remove the conditions that she participate

in substance abuse therapy and counseling and submit to drug testing. These conditions

of release require drug treatment and testing if directed or required by the pretrial services

officer or supervising officer. Kirkwood states in her motion that she does not take

controlled substances and has not failed a drug test; that she does not need therapy for

drug or alcohol abuse; and that the requirements imposed hamper her ability to work the 2

jobs she has to provide for her family.

       The Court has confirmed with Kirkwood’s pretrial services officer that she has not

failed a drug test. The pretrial services officer informs the Court that, due to Kirkwood’s
      Case 4:15-cr-00276-KGB        Document 206       Filed 02/05/16    Page 2 of 2




negative drug tests, she intends to suspend drug treatment as well as the requirement that

Kirkwood call into the Code a Phone system daily. These are actions that can take place

without any revisions to the order setting conditions of release. Kirkwood will remain

subject to random drug testing by the pretrial services officer during home visits.

Therefore, the motion for reconsideration of conditions of release is denied.

       IT IS SO ORDERED this 4th day of February, 2016.



                                          ____________________________________
                                          UNITED STATES MAGISTRATE JUDGE




                                             2
